              Case 2:20-cr-00032-JCC Document 72 Filed 06/04/20 Page 1 of 3




 1                                                         The Honorable Paula L. McCandlis
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 6
 7                        UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF WASHINGTON
 8
                                      AT SEATTLE
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        UNITED STATES OF AMERICA,                        NO. CR20-032JCC
11
                              Plaintiff,
                                                         SUPPLEMENTAL VICTIM IMPACT
12
                                                         STATEMENT
13
                         v.
14
        KALEB COLE,
15
                              Defendant.
16
17         The United States of America, by Brian T. Moran, United States Attorney for the
18 Western District of Washington, and Thomas Woods, Assistant United States Attorney
19 for said District, hereby submits a supplemental victim impact statement that the
20 government recently received authorization to file in connection with the pending hearing
21 regarding the defendant’s motion to reopen detention. The government is filing this
22 statement as Exhibit D to its opposition to the defendant’s motion to reopen.
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     Government’s Supplemental Victim Impact Statement                   UNITED STATES ATTORNEY
                                                                        700 STEWART STREET, SUITE 5220
     United States v. Cole, CR20-032JCC - 1                               SEATTLE, WASHINGTON 98101
                                                                                (206) 553-7970
              Case 2:20-cr-00032-JCC Document 72 Filed 06/04/20 Page 2 of 3




 1         DATED this 4th day of June, 2020.
 2
                                                         Respectfully submitted,
 3
                                                         BRIAN T. MORAN
 4
                                                         United States Attorney
 5
                                                         s/ Thomas M. Woods
 6
                                                         THOMAS M. WODS
 7                                                       Assistant United States Attorney
                                                         United States Attorney’s Office
 8
                                                         700 Stewart Street, Suite 5220
 9                                                       Seattle, Washington 98101-3903
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     Government’s Supplemental Victim Impact Statement                       UNITED STATES ATTORNEY
                                                                            700 STEWART STREET, SUITE 5220
     United States v. Cole, CR20-032JCC - 2                                   SEATTLE, WASHINGTON 98101
                                                                                    (206) 553-7970
              Case 2:20-cr-00032-JCC Document 72 Filed 06/04/20 Page 3 of 3




 1                                    CERTIFICATE OF SERVICE
 2
 3         I hereby certify that on March 22, 2020, I electronically filed the foregoing with
 4 the Clerk of Court using the CM/ECF system which will send notification of such filing
 5 to the attorney of record for the defendant.
 6
 7                                                       s/ Courtney Goertzen
                                                         COURTNEY GOERTZEN
 8
                                                         Paralegal Specialist
 9                                                       United States Attorney’s Office
                                                         700 Stewart Street, Suite 5220
10
                                                         Seattle, Washington 98101-1271
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     Government’s Supplemental Victim Impact Statement                       UNITED STATES ATTORNEY
                                                                            700 STEWART STREET, SUITE 5220
     United States v. Cole, CR20-032JCC - 3                                   SEATTLE, WASHINGTON 98101
                                                                                    (206) 553-7970
